Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 1 of 12

CREDIT APPROVAL PACKAGE (Initial Review)

November 2020
Line of Business: CB - Trading Products: Hedge Funds

Borrower: Archegos Fund LP BMO Role: Bilateral
Connection: Archegos Capital Mgmt. (Admin Risk Rating: (1) S-3
Connection)
Industry: Hedge Fund LGD: 45%
CaR: N/A Facilities: $47.5MM Replacement Risk
$300MM DFT-GEL
Total Leverage: N/A BMO Uncommitted
Commitment:

Transaction Summary
Recommendation
Recommend approval of the following:
1. Industry: Hedge Fund
2. Outline of Request: Initial review of Archegos Fund LP (“AFLP”), a Delaware hedge fund that is managed by
Archegos Capital Management LP (“Archegos”) - a U.S. based investment manager. Archegos is the family office
for Bill Hwang, previously the founder of Tiger Asia.

a) Establish an S-3 risk rating in line with RRM. Establish an S-3 connection rating for administrative
purposes only.

b) Establish $47.5MM of Replacement Risk limits to accommodate EQTRS trading. 14-Month tenor, within
guideline as per DFT-Addendum. Further detail is in “Structure Overview” below.

c) Establish $300MM DFT- GEL during calibration period.

d) Request approval to negotiate ISDA/CSA & MCA with Archegos Fund LP to support EQTRS trades.
Further detail on proposed terms is in “Covenant & Trigger Analysis” section.

e) Establish internal performance trigger of 1-month performance loss is greater than 15%. Further
detail on the wider than normal performance trigger is discussed in the “Covenants & Trigger Analysis”
section.

f) Establish BMO Tier 3 HF Categorization for the purposes of IA & Haircut in line with updated HF FG.

g) Next annual review date of November 30%, 2021.

h) Approval recommended based on:

The fund is very sizeable relative to the limits requested. September 30th NAV was $4.3Bn.

Activity will have a 1-day OET, such that BMO can terminate trades or increase margin overnight.
Initial margin levels are expected to range from 15%-20% such that almost all Replacement Risk is
covered by IM.

e Asa family office, the fund’s capital is more or less permanent. The fund is not legally obligated to meet

investor redemptions and thus can weather significant drawdowns as well as performance volatility.
The fund is focused on mid to large cap global equities, with a favorable liquidity profile.
Since a settlement for insider trading in 2012, Archegos has since restructured and significantly
enhanced both its operational & importantly compliance infrastructure. Additional due diligence was
performed by BMO Compliance to confirm appropriateness of Archegos’ controls & that Archegos is
acceptable from a reputational risk point of view (discussed in further detail below.)

e Amore in-depth discussion of the strengths and weaknesses of the client & transaction is provided in
the “Key Risks & Mitigants” section.

3. IIROC Classification: N/A for US funds.

4. Country of Risk: Archegos Fund LP is a Delaware Fund. Archegos Capital Management is based in New York.
Country of Risk as U.S,

5. Syndication Strategy, if applicable: n/a

6. FG,HLE or other exceptions: None

7. Enterprise or P&C Matrix: Enterprise

8. Note to Deal Specialist (if any): APMS/DS team: SIC/ISC: 7299/151. Please assign connection and all related
UENS to PM Joseph Boccuzzi. Resp code G3521. Adaptiv team: Connect to HF-Conn in Adaptiv.

9. Booking Location Explanation if non-standard for sector: BMO for FITRS & EQTRS. BCMC for repo.

10. Bank Leveraged Loan (Y/N): no

GOVERNMENT ,
EXHIBIT
1004A
CONFIDENTIAL TREATMENT REQUESTED 22 Cr. 240 (AKH) BM0O00077540

SDNY_P002_0000058665
CONFIDENTIAL TREATMENT REQUESTED

Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 2 of 12

11. Approval Routing:

Proposer Recommender Approver Required Due To Comments
J. Boccuzzi (5%) S.Malkani(70%) | B. Sullivan (45%) | Exposure within

E. Brundage Discretionary Limits

(100%)

Onboarding of fund
with initial S-3 rating
requires CE approval

per HF FG.
Fund Domicile | Inception | Rating NAV Limits | % NAV | 9/20 YTD Perf. | Products
Archegos Fund LP | Delaware 2001 $-3 $ 4,380 | $ 47.5 1.1% 20.1% | EQTRS

Company Events & Initial Review Actions

e Archegos is a new relationship to the Bank, although has been a target prospect for a number of years. Since the
LOB first launched this request, a number of initial vetting steps have already taken place. Archegos is a family
office for Sung Kook “Bill” Hwang, formerly a PM at Tiger Capital, and later the founder & CIO of its separate
spinout, Tiger Asia Partners. In 2009, while at Tiger Asia, charges were brought against the firm & Mr. Hwang in the
U.S., Hong Kong, and Japan for insider trading & market manipulation. In 2012, resulting in
roughly $70MM in total fines and a 5-year industry ban in the United States and Hong Kong. In 2012-2013, Tiger
Asia returned all external investor capital and converted to a family office.

e Due to this background, CB & LOB initiated additional due diligence in regards to potential reputational risk, similar
to the process enacted for Point72. (ii ee Support from
various senior stakeholders in both the Business & Compliance was obtained. Business support was obtained from
Deland Kamanga & Dan Barclay. BMO Compliance & AML (Mike Forlenza, David Moore, Andy Hoffman) had an
additional due diligence call with Archegos’ CCO (Michael Satine) on November 10™, 2020 to review the compliance

controls in place at the firm.
Further background information is saved in the CAF.

Relationship Summary
David Matlow & David Amar in Equity Products are the primary LOB sales contacts. Jordan Lupu has also supported.

Archegos is sizeable and relatively active in equity trading and has been a top 150 for the Bank for both cash trading &
financing. The financing component via EQTRS will complement winning additional cash business. At full maturity of
the relationship, the LOB is targeting a total GMV portfolio of up to $300MM, which would generate roughly $1MM of
revenue on the financing side. If BMO is able to win significant cash trading business, this is expected to contribute
another $1MM of annual revenue.

Structure Overview

Overview of Proposed Activity:

Archegos primary invests in equities, both long & short, but usually with a moderate long bias. They will sometimes
hedge their portfolio with indices or ETF’s. Although the fund has a global focus with large allocations to North America
& Western Europe, it does have a sizeable exposure to major Asian markets such as China, Hong Kong, Japan, & South
Korea. Often, they will access these markets via U.S. listed ADR’s.

Initial analysis was performed on a series of “worst-case” portfolios which consisted of a portfolio where the client goes
long 1-2 Chinese equity names at $100MM notional each (total portfolio of $200MM.) However, this represents a worst-
case, based on initial inquiries from the client as to BMO’s capacity. Per discussions with David Amar, both CB and LOB’s
preference is for a more diversified portfolio both in terms of individual issuers as well as geographic focus. The
expectation is the gradual build-up of core positions in response to client flow & market conditions. The long-term
strategy for this client is not to only accept the worst-case portfolio of concentrated China ADR's for an extended period,
although BMO should be prepared for such a scenario temporarily & calibrate limits as such.

Initial Margin:
CB has communicated to LOB there is only a minimal appetite for uncollateralized replacement risk with this client. As a
result, expected IM levels are expected to range between 15%-20% on this activity. IM improvements are expected to

2

BMO00077541

SDNY_P002_0000058666
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 3 of 12

be used as a lever to incentivize the client towards more hedged and diversified portfolios. For a more typically
diversified long/short basket with greater allocation to developed market names, a more standard IM of 10% would be
charged. MRO (Rich Taylor) has also reviewed initial sample trades & has agreed an elevated IM is appropriate as a
potential mitigant to the more concentrated sample portfolios. Actual live DFT trades and IM level will be governed by
standard oversight processes outlined in the DFT-Addendum.

Optional Early Termination: Although the swaps will have a 13-Month maturity, BMO will retain aggressive optional
early termination rights in the MCA. CB recommends that BMO will be able to terminate or raise margin with no more
than 1-days’ notice, effectively providing an overnight swap facility to the client.

Bullet Swaps & Net Settlement: Activity is expected to be 13-Month bullet swaps. At swap maturity, Adaptiv
methodology assumes a scenario in which BMO pays a swap settlement to the client, the client defaults, and BMO loses
both the swap settlement payment & the variation margin posted to the client. This creates a spike in the PFE profile at
trade maturity, effectively doubling the PFE. $47.5MM of limits are calibrated without this spike, as these swaps will be
net settled. Ability to trade net-settled swaps with the associated exposure override in Adpativ is contingent on the full
finalization and approval of the net-settlement process. In the interim, CB has no objection to moving forward if activity
fits within the $47.5MM limit including the collateral spike. This would still allow the client to trade $40MM-$50MM
notional of swaps in the interim.

Uncommitted Treasury Facilities:

e Recommended total limits to Archegos Fund LP are $47.5MM, 1.1% of the funds’ $4.3Bn NAV. All limits are to
support EQTRS activity with a 13-Month maturity. A 14-Month limit will be set in Adaptiv to accommodate the
additional 2-week close out period added on by CCR methodology.

e An initial DFT-GEL of $300MM is recommended. Although initial aspirations are for $200MM in balances, a
higher GEL is set to allow for more room if the client shows BMO as more diversified, higher geographic quality,
or better long/short balanced portfolio.

Structural Considerations: No other structural considerations.

Risk Rating Rationale

CB recommends an S-3 rating for Archegos Fund LP, in line with RRM. Initially, an S-3 rating may seem conservative for
a fund that is over $4.3Bn, even though RRM does not take the fund NAV into account explicitly. The rating is driven by
the fund’s significant performance volatility. Even though the fund has performed well (+8.65% annualized over the
past 3 years,)} the fund has had peak to trough drawdowns in excess of 60%. Somewhat characteristic of a family office,
formal market risk management infrastructure is limited, as evidenced by the volatility of returns.

Although Archegos’ credit profile is complex, CB feels the S-3 generated by RRM is appropriate. For example, while Bill
Hwang's capital is a more stable capital base, lack of external investors has contributed to a more volatile return profile,
weaker transparency, & fewer risk controls than a standard hedge fund. Although the fund is sizeable with the
operational infrastructure & financing relationships to support that size, the reputational background of the insider
trading settlement remains a weakness (although one that has been properly vetted by BMO internal process.)

It is within this broader context that CB recommends maintaining RRM’s S-3 rating, even though Archegos may not, at
first impression, be a typical S-3 rated hedge fund or carry an S-3 rating for the usual reasons. While CB has risk
appetite to Archegos, it is only within the confines of certain parameters. The S-3 rating therefore properly reflects that
Archegos, while creditworthy, presents additional risks and should be subject to the monitoring (namely being
highlighted & reported on CB's quarterly update memo’s to Credit) associated with S-3 names.

In line with the S-3 rating & CB’s limited appetite for uncollateralized replacement risk, CB recommends Tier 3 HF
categorization for IM & haircut.

Investment Advisor Summary: Archegos Capital Management LP

Bill Hwang began his career at Julian Robertson’s Tiger Capital, eventually becoming a significant PM with an Asian
equity portfolio. In 2001, Mr. Hwang spun out to found Tiger Asia. Tiger Asia grew to a $3Bn firm. In 2009, Tiger Asia &
Bill Hwang were investigated by Hong Kong regulators, Japanese regulators, and the SEC for insider trading Bank of
China, China Construction Bank, and Yahoo Japan. Tiger Asia was found to have improperly profited ~$5MM from its
series of trades, Mr. Hwang & the firm IY agreeing to total fines of ~$70MM and a 5-year
industry ban in Hong Kong & the U.S. Tiger Asia returned all external capital & converted to a family office, renamed

3

CONFIDENTIAL TREATMENT REQUESTED BMO00077542
SDNY_P002_0000058667
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 4 of 12

Archegos Capital Management LP. Since 2013, the firm has been trading Bill Hwang’s personal fortune which is almost
entirely invested in the fund, at $4.38Bn as of 9/30/20.

Archegos has 52 employees located in New York City. The firm has about 32 investment professionals and 20 support
professionals. As the firm only manages internal capital, it is not registered with the SEC. After the initial investigation
into insider trading while at Tiger Asia, a significant portion of the management team was replaced. The most
meaningful hires were Andrew Mills as the firm’s Executive Chairman and co-CEO and Michael Satine as CCO. Andrew
Mills has responsibility over the business side of Archegos in order to allow Mr. Hwang to focus solely on investing. Mr.
Mills has veto power over Mr. Hwang & officially they each report to the other. Upon Mr. Hwang’s incapacitation, Mr.
Mills is authorized to manage the firm. Admittedly however, Archegos remains Mr. Hwang’s firm and ultimately under
his control. Prior to joining Archegos, Michael Satine was a senior compliance professional at Goldman Sachs for 30-
years & also has veto power over investments if they pose a compliance risk.

Bios below:

BilHwang {| Founder and Co-Chief Executive Officer

Bill is the founder and Co-Chief Executive Officer at Archegos Capital Management. Bill founded and ran Tiger Asia from
2001 to 2012, before turning the firm into a family office and renaming it Archegos Capital Management in 2013. Bill
previously worked as an equity analyst at Tiger Management, as well as an institutional equity sales person at both
Peregrine Securities and Hyundai Securities. Bill is also a co-founder of the Grace and Mercy Foundation that serves in
the areas of Christianity, art, education, justice, and poverty. Bill received a BA in Economics/Business from the
University of California, Los Angeles, and an MBA from Carnegie-Mellon University.

Andy Mills | Executive Chairman and Co-Chief Executive Officer

Andy is the Executive Chairman and Co-Chief Executive Officer at Archegos Capital Management, and joined the firm in
2014. He was the former Chief Executive Officer of the Thomson Financial and Professional Publishing unit of The
Thomson Corporation, where he was also a member of the Board. Andy is also a Senior Fellow at The King’s College in
New York City, where he was previously the President and Chairman of the Board of Trustees. Andy received a BA from
Oxford University and an MBA from Harvard University.

Michael Satine | Chief Compliance Officer

Michael is the Chief Compliance Officer at Archegos Capital Management, and joined the firm in 2010 after serving over
30 years in various senior compliance positions at Goldman Sachs. While at Goldman Sachs, Michael was a Vice
President and Executive Director in the United States and London, and he was responsible for compliance programs.
Michael received a BA in Economics from the City University of New York and an MBA and PMC from Iona College.

Business / Borrower Overview

Fund Summary

Archegos Fund LP is a Delaware fund, first formed in 2001 as Tiger Asia Fund LP. When the firm formally converted a
family office, the fund was renamed to Archegos Fund LP in February 2013 and continued operations. As an entity to
house Mr. Hwang’s personal wealth, there are not the typical fund terms governing most hedge funds. There are no
management or performance fees or formal redemption terms. If desired, Mr. Hwang can remove capital on a daily
basis, although he has no material incentive to do so & keeps materially all of his net worth in the fund.

34 Party Providers:

Administrator: Citco

Auditor: Kaufman Rossin

Legal: Ropes & Gray

Custodian: Bank of America

PB’s: Morgan Stanley, Nomura, UBS, Credit Suisse, Deustche Bank (in transition to BNP Paribas,) Jefferies, Wells-Fargo.
ISDA’s: 9 ISDA’s, 6 of which are with the PB’s, and 3 are ISDA-only swap counterparties. Wells is the only PB without an
ISDA as they cannot cross margin between swaps and cash.

3rd parties are reputable including a significant set of major banking relationships. Use of an external administrator
despite being a family office is a plus.

Investment Strategy

CONFIDENTIAL TREATMENT REQUESTED BM0Q00077543
SDNY_P002_0000058668
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 5 of 12

e Mr. Hwang makes all the firm’s investment decisions and authorizes all the firm’s trades. The strategy is long-short
equity. The fund invests globally, although due to Mr. Hwang’s background the fund tends to have a larger
allocation to Asian markets than many long-short equity funds.

e He is supported by a team of roughly 25 research-dedicated professionals. The research team sources new ideas
generating internal support documents for each idea, including a trading plan with entry and exit targets. Trade
analysis is fundamental, underwriting each individual stock's value within the broader context of the firm’s views
on the macro environment. These are then formally presented to Bill Hwang & the firm’s head of research,
Christopher Burn who determine trade sizing.

e All trade ideas that are to be put in the portfolio are reviewed by Compliance.

e Instructions are then routed to the trading team, led by Head Trader William Tomita who is supported by a team of
4 execution traders. Mr. Tomita & team are responsible for accruing shares or disposing of shares at the price
targets indicated by the investment team.

e The portfolio tends to be long biased, although there is a significant short portfolio. Trade horizon may be has long
as 3-5 years for high conviction positions, although Archegos will trade out of positions sooner if price targets are
met.

e The portfolio usually consists of ~150 names. Archegos will have a 10-20 core positions with the remaining
positions being significantly smaller. They are usually included in the portfolio to increase attention and monitoring
to the names. As conviction increases, these small positions will sometimes slowly graduate into larger size and
core positions. However, the portfolio can still turnover quickly and in size if Mr. Hwang has a high conviction view
or market volatility has increased.

e Although Mr. Hwang has a relatively concentrated portfolio, Archegos is not an activist investor. The investment
strategy is more value & growth oriented.

e Further detail on current portfolio construction is discussed in “Historical Financial Analysis” section below.

Risk Management

e Scott Becker is the firm’s Director of Risk Management. In terms of portfolio risk, Mr. Becker's role is more of a
reporting capacity, ensuring the Mr. Hwang & the senior investment team are appraised daily of portfolio
exposures & most importantly unencumbered cash. Mr. Becker is largely responsible for counterparty relations,
including managing financing costs & margin with the PB’s.

e Asa family office, formal risk management infrastructure & use of formal limits is limited. Responsibility for the
portfolio’s risk ultimately lies with Bill Hwang as it is his capital to preserve & protect. Most risk discussions at the
firm are focused on managing liquidity & financing.

Liquidity:

e Unencumbered cash is closely monitored. The firm targets a 30% unencumbered cash floor. Most of this is held as
excess margin with PB’s and financing counterparties, although some additional buffer is swept back to the
custodian, BofA.

e Archegos has fully duplicated the margin methodologies of its PB’s. At close of business each day, all margin
balances, including potential margin calls are calculated before the next day’s trading. Margin is also closely
considered when allocating the portfolio amongst financing counterparties, and actively optimized.

e Per Mr. Becker, the lowest unencumbered cash level experienced by the fund in March was 24%, which was soon
cured back to 30%. This is despite a 45.9% loss that month. In order to maintain their unencumbered cash floor, the
fund actively reduced exposure. Per Mr. Becker, Archegos did not miss or materially dispute any margin calls in
March. Margin calls are managed by Mr. Becker in conjunction with the operations team.

e The fund tends to focus on larger-cap equities in actively traded, major markets. Assuming they can trade 10% of
90-day ADV, they can unwind the portfolio in under 2-weeks. Position liquidity is also considered relative to
unencumbered cash, such that the fund is confident they can reduce exposure if needed to ensure they meet their
30% cash target.

e There are no formal limits on leverage. Since the firm’s inception, the fund has run at 275% GMV. The fund usually
carries a significant long bias even though the short book is sizeable. Since inception LMV has average 175%, SMV
100%, with a NMV of about 75% net long.

e At the time of the due diligence, GMV had increased to ~650%. LMV was 465% and SMV was 185%, for a NMV of
280%. This is amongst the highest levels Archegos has used historically. The increase in leverage has been driven
by maintaining high conviction trades that have substantially gained in value, in addition to a larger short portfolio
with a greater allocation of index hedges to help offset some of this increased long exposure. In addition, Archegos
find the current market environment attractive & has been actively putting on positions.

CONFIDENTIAL TREATMENT REQUESTED BM0Q00077544
SDNY_P002_0000058669
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 6 of 12

Funding:

e Archegos has a sizeable suite of financing counterparties, including 7 cash Prime Brokers, and 3 ISDA-only
counterparties. The portfolio is almost exclusively financed using PB or equity-TRS financing. All of the PB facilities
are overnight, without any lockups.

e Morgan Stanley, Nomura, UBS, and Credit Suisse are the largest PB’s, each with 15%-25% of the portfolio. The next
tier is Deutsche/BNP and Jefferies who each have 5%-10% of the portfolio. Each swap counterparty has a
comparatively small allocation, usually <2% of the portfolio.

e Archegos receives portfolio margin at the PB’s. ISDA-Only swap counterparties charge IM trade by trade. The
average margin on the portfolio is 11.5% of GMV. Given the focus on unencumbered cash and margin, Archegos
puts a premium on IA predictability. Optimizing the portfolio rules at their cash-PB’s can be operationally intensive.
Thus, for certain subsets of their portfolio, Archegos puts a premium on locating financing counterparties where a
flat margin is charged, hence their interest in adding BMO as an additional swap counterparty.

e Furthermore, Lehman Brothers was a major prime broker for Archegos. Archegos had significant exposure to
Lehman's bankruptcy which was an operational strain for the firm. Since, Archegos has focused very closely on
diversifying their counterparties to avoid similar concentration and exposure to a single bank. This is another
driver for adding BMO to their already sizeable roster of counterparties.

e Per Mr. Becker, during March 2020, the firm did not experience any margin increases or pullback of financing from
their providers. Although the fund breached its NAV triggers in their ISDA’s, all counterparties waived the breaches.
Mr. Becker received regular call from their banks for updates, but ultimately Archegos was able to maintain all of
their financing terms even during March’s drawdown.

e A focus of the due diligence was how other banks remained comfortable with Archegos despite these losses and
trigger breaches. Although Mr. Becker did not have specifics, CB expects the following was important:

o Although as industry practice overnight Prime Brokerage or swaps often require credit limits, many other
banks measure their risk net of initial margin. IM levels for equity PB or swaps often cover most PFE risk
and often a significant portion of stress risk. As a result, risk to Archegos may have been measured as very
small at competitors. For a client of Archegos’ size, who was continuing to meet margin calls without event,
where activity was overnight, and the risk net of IM was considered small, it is credible that many
competitors did not see a need to take action despite the 20% loss in February and 45% loss in March.

Valuation:

e Cjtco is the firm’s administrator and also serves as the fund’s official books and records. Archegos almost
exclusively trades publicly listed equities which are fairly straightforward to value. Citco independently strikes the
fund’s NAV each month.

e There were no Level 3 assets in the 2019 audit from Kaufman Rossin which received an unqualified opinion.

Compliance:
e The compliance team strives to operate as if Archegos was still a registered IM with external investors. Compliance

screens the firm’s investment research sources to ensure than MNPI is not utilized. Using a centralized vendor
system, the compliance team reviews all of the firm’s trades. Employee personal trading is also monitored. A
restricted list for both firm and personal trading is maintained and circulated. Compliance also examines the firm’s
research views with actual trading activity to identify outliers or inconsistent activity that may indicate MNPI.

« All employees receive compliance training at least annually, conducted by the firm’s legal counsel Ropes & Gray. All
employees must read the firm’s compliance manual and sign a formal code of ethics. ACA is also kept on retainer.

The fund and Mr. Hwang have a large appetite for risk. The fund's historical leverage levels are reasonable for a
long/short equity strategy, although still significant for a concentrated portfolio often focused on high beta names.
Current leverage is at a high level, although this is partially due to increased focused on index hedging. Risk
management is not a strength of the fund's credit profile. Yet, there are a number of mitigating factors that at least
partially offset some of these weaknesses. The firm does take appropriate steps to manage its return volatility.

The focus on a highly liquid portfolio and sufficient levels of unencumbered cash is a significant positive. CB gains
considerable comfort that even during the severity of March 2020's downturn, Archegos was able to meet all of its
margin calls without delay due to their emphasis on liquidity management. Archegos is able to maintain a large roster of
highly reputable global banks as financing partners. Further, the fund is able to weather significant levels of volatility
because there is no redemption pressure or benchmarks to meet for external investors. Risk management is, to a
degree, embedded in the investment process which underwrites the value of each equity security. Thus, Mr. Hwang
often views markdowns on the portfolio as “mark-to-market” if the fundamental potential of a company remains intact.

CONFIDENTIAL TREATMENT REQUESTED BM0Q00077545
SDNY_P002_0000058670
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 7 of 12

To this end, Mr. Hwang has a strong incentive to make risk-aware & ultimately valuable investments as it is his personal
money at risk. Mr. Hwang has had a proven ability to select valuable companies over his 20-year investment career.

While there is little in terms of formal limits, the portfolio is not particularly complex. Sophisticated modeling
techniques would not necessarily improve the fund's ability to manage risk as compared to more fundamental factors
such as concentration or leverage limits (which, though, are admittedly are not employed either.) Operationally,
although there is reliance on 3™ parties, Archegos has sufficient staff and infrastructure for a firm with their size and
trading volume. Retaining Citco as an Administrator remains a positive, and the portfolio is relatively straightforward to
value. Given the major business and personal impact of Archegos’ prior compliance failings which led to $5MM in
improper trading gains, compliance infrastructure has improved as vetted by BMO’s internal subject matter experts.

Performance
Archegos Fund Credit Suisse Long/Short Equity Hedge
LP Fund Index
Sep 2020 YTD 20,13% 0.20%
2019 63.73% 12.17%
2018 -36.01% 4.62%
Average Annual Return* 8.65% 3.45%
Annual Standard
Deviation* 68.02% 8.08%
Sharpe Ratio* 0.438 0.285
*36 month calculation
Jan Feb Mar Apr May Jun Jul Aug YTD
2017 Porf. 15.1% 2.3% 2.9% 1.6% 1.9% -11.1% 22.6% 2.1% 37.9%
2018 Perf. 18.8% 2.2% ~5.4% 4.0% 14.9% 2.5% 3.6% 4.2% 38.0%
0.3% 4.6% | ANI 6.0% 18.8% 1.7% 63.7%
2020 Perf. 23.0% -7,8% 5.7% 20.1%
Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
2017 NAV 2,340 2,399 2,085 2,045 2,093 1,818 3,530 3,456 3,454 3,738 3,442 3,204
2018 NAV 3,959 4,065 3,691 3,872 4,560 4,897 4,897 5,133 4,825 3,066 2,729 1,981
2019 NAV 3,287 3,545 3,704 3,791 2,960 3,231 3,247 3,063 2,650 2,841 3,472 3,506
2020 NAV 3,463 2,739 1,480 1,984 2,241 3,513 4,525 4,100 4,380 |.

The fund’s performance is extremely volatile. As a result, typical comparison to hedge fund indices is not necessarily
informative. Since 2017, the fund has had two drawdowns in excess of 60%, the first occurring in Q4 2018 & more
recently in Q1 2020. Despite this, the fund has been considerably profitable over the longer run. Since January 2017, the
fund has generated over $1.2Bn in PnL.

Mr. Becker attributed the fund's volatility to the long bias, significant use of leverage, and focus on high conviction
names. Mr. Becker stressed that Mr. Hwang’s trading horizon is long-term and he is willing to accept sizeable mark-to-
market losses provided the trade fundamentals remain intact. The firm is cognizant they can only enjoy this long-term
trade horizon as long as they can maintain their leverage and financing - thus their focus on trading liquid names and
maintaining adequate levels of unencumbered cash.

Q1 2020 losses were driven by the fund’s investment in financials which were ~75% of NAV going into 2020. Although
many of the firm’s technology names - such as Amazon, Netflix, Apple, Facebook - held up well, many Chinese
technology names had ~10-20% drawdowns. In the subsequent summer months of 2020, the fund’s largest U.S.
technology names increased in value considerably. As these names appreciated, capital was recycled into Chinese
technology names which were still trading at an attractive discount. This part of the portfolio then continued
rebounded in line with the overall market recovery, yielding a 20% YTD return for the fund.

Capital / Investor Base

All of the capital is Bill Hwang’s and his various family trusts. Although Mr. Hwang has the ability to withdraw capital
from the fund, he has not done so historically and keeps materially all of his net worth in the fund. Mr. Hwang will
withdraw capital to pay taxes and the firm’s staff including annual bonuses. Although Archegos has been allowed to

CONFIDENTIAL TREATMENT REQUESTED BMO00077546
SDNY_P002_0000058671
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 8 of 12

raise external capital since 2017, there is no intention to raise outside investor money at this time. Archegos prefers the
flexibility of operating as a family office and is comfortable with its size/AUM.

Due Diligence / Reporting

Joe Boccuzzi from Corporate Banking had a due diligence call with Scott Becker, Director of Risk Management, on
October 28", 2020. Mr. Becker was open and responsive to CB. Mike Forlenza, David Moore, & Andy Hoffman from BMO
had an additional due diligence all with Archegos’ CCO Michael Satine, his deputy Fernanda Piedra, and Scott Becker on
November 10%, 2020. The line of business (David Amar, Jay Epstein) and Corporate Banking (Joe Boccuzzi) were also
included on the call. The additional due diligence call covered Archegos’ compliance infrastructure.

Archegos’ disclosure has been adequate. Archegos’ senior staff have been responsive and cooperative. Written
disclosure is limited, however, as the firm does not have outside investors with the usual reports that are generated for
investors. Written disclosure will be limited to monthly NAV & performance, although the manager remains accessible
for discussions whenever needed. Emphasizing the level of detail provided to not only CB, but BMO’s Compliance team
on the due diligence calls, the level of disclosure from Archegos is ultimately adequate.

Industry Overview

Hedge Fund industry is $3.12 trillion in AUM (per HFR Global Hedge Fund Industry Report). Strategies include macro
or global directional, market neutral or arbitrage, event driven, regional strategies (ie. Emerging Markets), sector
strategies (i.e. Managed Futures), and multi-strategy.

Key Risks & Mitigating Factors

e Archegos’ prior insider trading settlement is a reputational concern
& elevated risk. As a result, additional due diligence was performed
by BMO Compliance to ensure that Archegos has improved its
internal controls since the initial finding. The output of that process
was that Archegos’ controls are sufficient and the firm is acceptable
or onboarding from a reputational risk perspective.

Quality of Fund Manager e Despite this background, the firm has demonstrated trading
expertise and Bill Hwang has a successful 20-year track record
trading the markets in which Archegos is active. Bill Hwang’s
acumen has allowed him to amass over $4Bn in net worth, almost
all of which is invested in the fund.

e Despite being a family office, Archegos has a sizeable staff of over
50 people, with appropriate compliance & operations resources.

® The strategy is concentrated in high conviction positions and uses a
significant amount of leverage. Although the fund may and has
invested globally, it currently has a higher allocation to Asian
markets including China.

* Offsetting this is a focus on liquid, actively traded names. Even
during March 2020’s market volatility, the firm was able to reduce
exposure to raise liquidity and meet all their margin calls. Even
with the sizeable drawdowns, the fund’s NAV did not drop below
$1.4Bn.

e Although risk management is limited as compared to a typical
hedge fund, one strength of the firm is the focus on liquidity and
funding. The 30% unencumbered cash floor is an appropriate level
for the strategy, and was able to be maintained during March 2020.
The firm trades in liquid names, albeit often in emerging markets,

Portfolio Liquidity & Funding but can unwind the portfolio in under 2-weeks conservatively
assuming 10% ADV. The fund takes sizeable positions but is not an
activist, often focusing on mid to large cap issuers.

« Archegos has funding relationships with most major global banks.
Even during March 2020’s drawdown, Archegos did not experience
any changes in their financing terms with counterparties across the

Strategy Concentration &
Performance Volatility

CONFIDENTIAL TREATMENT REQUESTED BM0Q00077547
SDNY_P002_0000058672
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 9 of 12

Street.

Capital Adequacy to Sustain Large
Losses

e The fund is sizeable, among one of the larger individual funds
industry-wide at $4.3Bn. Even during March 2020’s drawdown, the
fund’s NAV remained above $1.4Bn.

e Proposed activity is to be short-term. Although the swaps will be
13-Month bullets, a daily OET giving BMO the opportunity to
terminate trades or raise margin is proposed.

e IM levels to be charged that cover materially all of BMO’s
replacement risk, although CB acknowledges stress-risk may
remain. In order to incentivize a more diversified, less biased, and
less volatile portfolio, a lower IM can be offered to encourage
stronger portfolios.

e Transactions are subject to daily MTM and margining provisions.
Haircuts apply at BMO Tier 3.

e Even though a daily OET would allow daily termination, BMO still
proposes standard ISDA/ATE’s: 1) NAV Triggers: performance
return decline 20% mo/mo rolling, 30% 3mo/3mo rolling, and
40% 12mo0/12mo rolling; 2) NAV Floor: 50% decline since last
audited financial statement.

e Internal Trigger: 1-month performance losses > 15%

COVID-19 obligations to counterparties without issue. In this regard, the

e Like most hedge funds, Archegos was affected by COVID-19 in 2
main ways. First, they had to enact BCP procedures and work
remotely. This was enacted without major incident, and some
select personnel have returned to the firm’s New York City office.

* The fund experienced extreme volatility in March 2020, although
admittedly during among the worst market moves in history.
Despite a 45.9% loss in March, the firm was able meet all of its

firm’s focus on a liquid portfolio and maintaining sufficient
unencumbered cash was critical. While a drawdown of this
magnitude would have posed an existential risk for a standard
hedge fund, the fact Archegos is a family office with a long-term
trading horizon without redemption pressure allowed the fund to
recover +20% 2020 YTD return, including significant profitability
since 2017.

Transaction Rationale Summary

In line with its S-3 rating, Archegos Fund LP presents a number of elevated risks. The interplay of the firm’s historical
insider trading settlement, family office structure, very high performance volatility, material use of leverage, geographic
focus, and potentially concentrated portfolio require special consideration. Yet, the firm exhibits a number of strengths
that also must be acknowledged, including a very sizeable NAV, a long track record and proven expertise of its principal,
acceptable levels of infrastructure, as well as its strong & diverse set of counterparty relationships.

CB’s view is that the risk appetite to an acceptably reputable $4.3Bn fund with a strategy that has had a successful
(albeit volatile) 20-year track record should be non-zero to support a potential $2MM/year revenue opportunity. To
mitigate the elevated risks presented by Archegos, sizing and structuring becomes more important.

CB recommends only small limits relative to the fund’s current NAV as well as the fund’s lowest NAV
experienced during March 2020. Even at March 2020's low NAV of $1.48Bn, $50MM limits are <3% of NAV.

CB only recommends activity with 1-day OET where BMO can terminate or raise margin with 1-days’ notice.

CB recommends initial margin levels such that materially all replacement risk is covered by IM (15%-20% for
sample portfolios provided.)

Only positions & sizing that can be readily liquidated to be financed.

Net settlement procedures are only employed after appropriate procedures and controls are approved by
relevant BMO stakeholders.

CONFIDENTIAL TREATMENT REQUESTED BM0Q00077548

SDNY_P002_0000058673
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 10 of 12

If these conditions are met, CB feels that the proposed activity is both soundly structured and appropriately sized to an
ultimately creditworthy, albeit riskier, counterparty. Although BMO’s risk appetite should not necessarily follow that of
competitors, CB recommends structural protections that are consistent with commercial industry practice in
approaching this activity & believes has kept a large number of reputable banks comfortable with Archegos. The margin
of safety is significant. Even at March 2020’s NAV $1.48Bn, the fund would still be a sizeable fund in the industry overall,
and without the potential pressure of investor redemptions. Activity would still be sized appropriately small and after
initial margin, uncollateralized PFE risk would be de-minimis.

Source of Repayment

e Primary: hedge fund’s operating cash flow
e Secondary: collateral embedded in the trade; daily MTM with $0 threshold and $250K MTA.

Historical Financial Analysis

September 2020 - based on due diligence call
e The fund’s NAV was $4.38Bn as of September 2020 month-end., up from $3.5Bn FYE2019. YTD performance was

+Z0.1%.

« Long exposure was 465%, short exposure was 185% measured at notional. All positions were cash equities or
equity swaps.

e The long portfolio consisted of 115 names, 25 of which were above 2% of NAV. The short portfolio is composed of
two components: (i) alpha shorts (ii) hedges. The alpha short portfolio had 40 names, 22 of which were over 2% of
NAV. The hedge portfolio is mainly constructed using ETF’s such as SPY, EEM, and FXI.

e The top 10 longs were 350% of NAV.

e Per Mr. Becker, due to the dramatic increase in equity prices during the Q2-Q3 2020, the geographic focus of the
portfolio had shifted somewhat. Earlier in the year, the fund’s largest positions were major U.S. tech names such as
Microsoft, Apple, Amazon, Facebook, Netflix, and Tesla (TSLA short.) The fund began taking profits on these names
throughout Q3, partially recycling capital into some Chinese ADR’s. The three main themes in the portfolio remain
the above U.S. technology stocks, Chinese technology names (Alibaba and Baidu are major positions,) as well a US.
financials.

e Unencumbered cash was 30% of NAV, at target. This was down from 42% in the summer when the firm was still
more cautious redeploying risk. Margin with counterparties averaged 11.5% of GMV.

Audited financials, December 31, 2019

e The audits are fairly detailed in terms of the funds’ positioning, as it is mostly long/short global equities and swaps
(reported at notional values in additional fair value.) Other than the repositioning described by Mr. Becker above,
he also indicated the audits present a fair representation of the fund’s major exposures and trading patterns, again
highlighting that the trade horizon tends to be long-term. A summary of the fund’s largest positions, geographic,
and sector exposures as of year-end are below. Figures are expressed as a % of NAV, and ADR’s as the home-
country of the issuer.

Country. Long Short Sector Long Short Issuer Long Short
US. 255.4% 177.0% Internet, Media, & Telecom 267.0% 15.2% Other 55.4% 112.7%
China 118.3% 21.1% Financial 74.0% 43.7% SPY 114.1%
South Korea 0.6% 41.7% Index 114.1% Amazon 66.2%
Japan 4.5% 26.2% Retail 24.0% 58.0% Alibaba 37.9%
Germany 5.4% Info. Technology 18.4% 45% Baidu 29.2%
UK 1.9% Automotive 0.1% 19.3% Netflix 26.9%
Netherlands 0.2% Pharmaceuticals 7.3% Fiserve Inc. 26.3%
Spain 0.1% Consumer Staples 0.0% 2.0% IQHY] Inc. 25.7%
Sweden 0.1% Health Care 1.9% Apple 23.4%
Italy 0.0% ETF 1.0% Fast Retailing 19.9%
Australia 0.0% Real Estate 8.7% Tesla 19.3%
Total 386.4% 266.1% Transportation 0.6% Microsoft 18.2%
Professional Services 0.2% Facebook 14.0%
Airline 8.2% Vipshop Holdings 12.2%
Portfolio Swap 0.1% Alphabet - A 11.7%

CONFIDENTIAL TREATMENT REQUESTED

10

BM0Q00077549

SDNY_P002_0000058674
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24

Page 11 of 12

Lodging 0.0% | Alphabet -C 10.0%
Fotal 386.4% 266.1% Lendingclub 10.4%
Schwah 8.2%
Blackstone 5.3%

Deutsche Bank

5.2%

Total

386.4%

266.1%

NAV at FYE was $3.5Bn. Net income was $1.63Bn. Net redemptions were $102.6MM.
Total assets were $13.19Bn, for an assets/NAV of 3.76x.
79.5% of assets were Level 1, 20.5% were Level 2, no Level 3 assets.
Cash and cash equivalents were $1.Bn, 28.5% of NAV. This does not include excess borrowing power.

Derivatives were mainly equity swaps, with some FX forwards for currency hedging. Equity swap notionals were

approximately $1.9Bn by $8Bn short. Swaps are mostly used for the short portfolio due to operational ease.

Interest Rate Risk and Balance Sheet Considerations

The fund’s investment portfolios consist entirely of equities with limited interest rate risk. FX is only used to hedge non-
USD exposure.

Projected Financial Analysis

N/A. Hedge funds’ strategies and investment allocation change frequently. Each trade is collateralized and is subject to
daily MTM and margining provisions.

Covenant & Trigger Analysis

Proposed ISDA Terms:
Termination or material amendment to key docs

1)
2)
3)
4)

5)

Change/removal of investment manager

Cross-acceleration with operational carve out with 1 LBD cure.
>20% mo/mo (all-inclusive), >30% 3mo/3mo (all-inclusive), >40% 12mo/12mo (all-inclusive); NAV floor of

50% of previous FYE.

Key person both Bill Hwang & Andrew Mills

e  Archegos has requested no key-man clause as they are sensitive to the entire portfolio being liquidated
if Bill Hwang is incapacitated. CB is comfortable that under the direction of Mr. Mills, who as co-CEO
and Executive Chairman is properly authorized, there are additional resources at the firm to manage
an orderly unwind of the fund: specifically the head of research Christopher Burn and head trader
William Tomita. As such, CB proposes a key man to also include Mr. Mills as a potential way to get
Archegos comfortable with a more stable key man clause. CB notes that the 1-day OET will still allow
BMO the flexibility to terminate or increase margin within 1-days’ notice as BAU.

While these are initially proposed terms, given Archegos’ size and that many ISDA’s were possibly grandfathered from
Tiger Asia, CB is expecting additional asks from Archegos. CB will continue to be in close contact with Credit as terms

evolve,

Internal Triggers: Fund’s 1-month performance losses >15%.
Although it may seem counterintuitive to widen the performance trigger for an S-3 fund, CB seeks a balance
between meaningful monitoring & efficient workflow. The fund’s volatility profile has been discussed above
and it is expected that 10% losses will occur. Given the fund is internal capital only, a 10% loss is not
necessarily an indicator of future redemptions or fund stress. Therefore, a somewhat wider internal trigger is
proposed in order to properly capture meaningful large losses that would signal material deterioration of the

fund.

Collateral Analysis & LGD

Daily MTM and Initial Margin received under CSA with $250k MTA. Cash or UST’s as acceptable collateral.

APPENDICES

Appendix I: Legal Organization Structure

CONFIDENTIAL TREATMENT REQUESTED

11

BM0Q00077550
SDNY_P002_0000058675
Case 1:22-cr-00240-AKH Document 206-1 Filed 05/29/24 Page 12 of 12

Archegos Fund LP is a standalone Delaware LP. All of its capital comes from Bill Hwang directly, or via various family
trusts & his charitable foundation, the Grace & Mercy Foundation. Archegos Capital Management LP is the fund's
investment manager, and only manages this fund in addition to some small charitable trusts for Mr. Hwang. The firm’s
50 or so employees are hired by Archegos Capital Management in its capacity as an investment manager. The general
partner is wholly owned by Mr. Hwang.

Appendix II: Corporate Governance

Mr. Hwang ultimately controls the fund through his ownership of the general partner, the investment manager, and
only shareholder in the fund. Both Mr. Hwang and Andrew Mills serve as co-CEO’s and formally report to each other. In
the event of Mr. Hwang’s incapacitation, his family members (mainly his children) & the board of his charitable
foundation (Grace & Mercy Foundation) which includes Mr. Mills, will have control over his assets. Mr. Mills would
retain control over the investment manager and fund operations in his role as co-CEO.

After the insider trading settlement, Archegos’ management team was largely replaced. The fund is audited by Kaufman
Rossin and retains an external administrator Citco. Archegos governance practices around compliance have been
reviewed by BMO Compliance. Despite the clear reliance on Mr. Hwang's discretion, there are reasonable controls and
governance in procedures in place considering the firm is a family office.

Appendix III: LTS & Other Regulatory Items (if applicable)
e FDIC Leverage: n/a
e ERI Code: 0
e Req W:n/a
e Reg O:n/a

Appendix IV: Financing Guideline Information
Subject to the Hedge Fund Financing Guideline, Trading Products Financing Guideline, Securities Finance Transaction
Financing Guidelines, DFT Addendum.

Appendix V: EBITDA Reconciliation
n/a

Appendix VI: Bank Leverage (if applicable)
n/a

Appendix VII: Enterprise Value Support (if applicable)
n/a

Appendix VIII: Sponsor Overview (if applicable)
n/a

Guarantor Analysis
N/A

12

CONFIDENTIAL TREATMENT REQUESTED BM0O00077551
SDNY_P002_0000058676
